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     Case 3:22-cr-00327                  Document 622    Filed 06/21/24   Page 1 of 49 PageID #: 4488
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Case 3:22-cr-00327   Document 622   Filed 06/21/24   Page 3 of 49 PageID #: 4490
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Case 3:22-cr-00327   Document 622   Filed 06/21/24   Page 5 of 49 PageID #: 4492
                  Evelyn Rall,               RISBURG Pte. 171                                                           W
                  778 Old FortRd
i                 jersey shore, PA 17740-8lit 2024 PM 3 L




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Case 3:22-cr-00327   Document 622        Filed 06/21/24   Page 8 of 49 PageID #: 4495
                                           Judicial
                                           Watch
                                           Because no one
                                           is above the lawP



          Judicial Watch was founded in 1994 as a constitutionally conservative,
              nonpartisan educational foundation that promotes transparency,
 j         accountability and integrity in govermnent, politics and the law. Our
        dedicated staff share a common commitment to our motto and motivation,
        "Because No One Is Above the Law!" Today our investigations, research,
i        litigation and public education work is supported by more than 900,000
         active members in all 50 states and the District of Columbia. Thanks to
          their generous help, Judicial Watch is regarded as the largest and most
            effective government watchdog and public policy group in America.




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   Dr. & Mrs Elton P. Raby USA"
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   2907 Glenn Dr                                                          {       .-
   Hattiesburg, MS 39401




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Case 3:22-cr-00327        Document 622              Filed 06/21/24             Page 10 of 49 PageID #: 4497
June 12, 2023



The Honorable Aleta Trauger
Fred D. Thompson U.S. Courthouse and Federal Building
719 Church Street
Nashville, TN 37203

To: Honorable Trauger:

Please dismiss or minimize the charges against Coleman Boyd and the six defendants with him. Their
purpose was to rescue not harm.

Thank you for your kind consideration,

   -4ina~R1                r~ _;
Wanda Stanton
4427 E. Cromwell St.
Springfield, MO 65802




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Bob and Lyda Gilmore, 300 W Leake St., Clinton, MS 39056



The Honorable Aleta Trauger
Fred D. Thompson U.S. Courthouse and Federal Building
719 Church Street
Nashville, TN 37203

RE: Sentencing of Dr. Coleman Boyd scheduled for July 2, 2024

Judge Trauger,

It is with great hope that we petition for your consideration of a probated sentence
when deciding the punishment for our friend Dr. Coleman Boyd.

Coleman has been a friend for many years and his humanitarian efforts have been
exemplary. He and his family have diligently provided for the homeless population in
Jackson, Mississippi by providing food and encouragement for those less fortunate.
Since they live on a farm they have been able to grow crops to supply the needs of many
indigent folks.

Coleman's family of 13 children represent a composite of our country's citizens. He and
his wife have adopted children of Asian and Black descent providing a loving family for
children who otherwise would not have the benefit of being included in a community
that cares for them. Being a doctor, Coleman also has the medical training to provide for
them medically. Coleman and his family have welcomed single young mothers into their
home while they are expecting a child and in one case they adopted the newborn of a
teen mother who lived with them.

In the last several years, Coleman has been building an orphanage in Thailand and has
made several trips to Ukraine to help with the medical needs of people who are having
to deal with the ravages of war.

These are some of the reasons we ask for your leniency in sentencing Coleman on July 2.
His family and our community needs him and his dedication to care for so many who
have had a tough time in life.

We sincerely thank you for your consideration in this important decision.



Bob & Lyda Gilmore




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Case 3:22-cr-00327   Document 622       Filed 06/21/24   Page 21 of 49 PageID #: 4508
The Honorable Aleta Trauger

YoUr Horim please exercise leniency in sentencing Dennis Green on July 3 for violation
of the FACE act and also for others like him. He Is a peaceful man who loves his family,
loves God, and loves the unbom. I pray God will guide you in your decision. I pray God
will bless you and your house and may He give you wisdom and mercy in sentencing.
Thank you for your consideration and your time.




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Case 3:22-cr-00327   Document 622    Filed 06/21/24   Page 26 of 49 PageID #: 4513
To:

The Honorible Aleta Trauger

Fred D. Thompson Bldg

719 Church Street

Nashville TN 37203



Regarding Pace Act Repeal

Your Honor, please consider and support the repeal of the

FACE act. Those participating that day were fulfilling their God

given beliefs that unborn chidren should be protected! They were not
criminals but only excercising their First Amendmant rights in a
peaceful way!



Thanks for your consideration!

Lawrence & Annette Toering

908 W. Toledo Circle

Broken Arrow OK 74012



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Case 3:22-cr-00327   Document 622   Filed 06/21/24   Page 28 of 49 PageID #: 4515
The Honorable Aleta Trauger

Your Honor, please exercise leniency in sentencing Dennis Green on July 3 for violation
of the FACE act and also for others like him. He is a peaceful man who loves his family,
loves God, and loves the unborn. I pray God will guide you in your decision. I pray God
will bless you and your house and may He give you wisdom and mercy in sentencing.
Thank you for your consideration and your time.



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Case 3:22-cr-00327          Document 622        Filed 06/21/24   Page 30 of 49 PageID #: 4517
The Honorable Aleta Trauger

Your Honor, please exercise leniency in sentencing Dennis Green on July 3 for violation
of the FACE act and also for others like him. He is a peaceful man who loves his family,
loves God, and loves the unborn. I pray God will guide you in your decision. 1 pray God
will bless you and your house and may He give you wisdom and mercy in sentencing.
Thank you for your consideration and your time.


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Case 3:22-cr-00327     Document 622       Filed 06/21/24   Page 32 of 49 PageID #: 4519
The Honorable Aleta Trauger

Your Honor, please exercise leniency in sentencing Dennis Green on July 3 for violation
of the FACE act and also for others like him. He is a peaceful man who loves his family,
loves God, and loves the unborn. I pray God will guide you in your decision. I pray God
will bless you and your house and may He give you wisdom and mercy in sentencing.
Thank you for your consideration and your time.




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Case 3:22-cr-00327   Document 622   Filed 06/21/24   Page 36 of 49 PageID #: 4523
                                    Leon and Patricia Bedsole
                                     13033 Riverwalk Circle
                                      D'Iberville, MS 39540




June 11, 2024

The Honorable Aleta Trauger
Fred D. Thompson U.S. Courthouse and Federal Building
719 Church Street
Nashville, TN 37203

Dear Honorable Trauger,
   We write to ask you to exercise leniency in sentencing regarding the case of Dr. Coleman
Boyd and codefendants . Whereas, we do not know them personally, we have strong beliefs
regarding the immorality of abortion and see this conviction as an attempt to cut off the rights of
the Boyds and others who are trying to let their voices be heard. This action of theirs.falls more
within the Constitutional rights of individuals than the actions of those who run baby killing
mills in the name of health. Please consider the greater picture here; maybe even dismiss any
penalties at all.



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Leon and Patricia Bedsole




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Case 3:22-cr-00327   Document 622   Filed 06/21/24   Page 40 of 49 PageID #: 4527
   Judge Aleta Trauger,

     On July 3, 2024 you will be sentencing a very close friend
  of mine, Dennis Green. I write to you in view of this upcoming
  sentencing. Denny Green, along with 5 others, were unjustly
  convicted in your courtroom on January 30, 2024. The unjust
  verdict was NOT brought by you; however, the sentencing that
  follows DOES rest upon the authority that has been granted to
  you by God. Therefore, I urge you to exercise this God given
  authority in a way that is good and just according to the only
  true standard of justice, namely God's. A unique opportunity
  has been given to you to establish true justice on the
  coattails of a grave injustice.
     It is my duty as a Christian minister and an American
  citizen to inform you of the person and character of Dennis
  Green. I have known Denny for about 3 years and he has become
  a good friend of mine. Denny Green is a good man, a true
  embodiment of a faithful husband, father, and a man who loves
  God with all his heart, soul, and mind. He is a faithful
  citizen who loves his neighbor as himself and treats others
  the way he would want to be treated.
     Denny is a father of 13 children with some of them still
  living under his roof, and he being the'sole provider for his
  wife and children. I have observed him as a husband and a
  father, and he is an example to model when it-comes to loving
  and providing for his wife and children. He demonstrates the
  qualities of selflessness, temperance, and self control,
  beyond measure. Denny's youngest child has down syndrome. This
  child has grown to be Denny's best friend and sidekick. They
  go and do everything together. For this child to be separated
  from his dad would be detrimental to the child's wellbeing.
    Denny runs a couple of successful family businesses. One is
  an online bookstore, and the other is working and helping the
  Amish in and around his community. He is not a dead beat that
  does not contribute to society. Rather, he is a hardworking
  man that provides excellent services to and for people, and
  therefore, contributes to society.
     Denny is a Christian ministry and services in his local
  church. He is dedicated to loving and serving people. He loves
  and cares for the needy in the nearby communities.




Case 3:22-cr-00327   Document 622   Filed 06/21/24   Page 41 of 49 PageID #: 4528
      As a missionary, Denny has lived and temporarily worked all
   over the world. He has spent much time sharing the good news
   found in Jesus Christ and giving humanitarian and financial
   aid and simply encouraging folks in need in all of these
   places.
      Judge Trauger, the point of all of this is in no way to
   praise Denny or lift him up. Rather, it is to help you to see
   the type of person that you are sentencing and potentially
   taking out of society. I urge you to do right and establish
   justice and drop the charges against Denny Green.

   Sincerely,



   Zach Hebb
   167 Whitener Road
   Penrose, NC 28766




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The Honorable Aleta Trauger

Fred D. Thompson U.S. Courthouse and Federal Building

719 Church Street

Nashville, TN 37203



The Honorable Aleta Trauger



Please Your Honor, exercise leniency in sentencing Coleman Boyd and the 5 codefendants. They are
NOT violent criminals and should not be sent away to a federal penitentiary.

Thank you for your consideration



Yours Truly




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Case 3:22-cr-00327   Document 622   Filed 06/21/24   Page 45 of 49 PageID #: 4532
The Honorable Aleta Trauger.

Re: The sentencing of six pro-fifers who were praying at an abortion clinic.

I'm not sure I understand.

Ripping ft arms and legs off the body of a fetus and crushing her skull. This is deemed
'reproductive health service,

Dr. Boyd and his wife Robin have 13 children. I'm sure most are adopted These children need
their dad! t'm- sure you know the statistics, boys without a father get involved with gangs and
dealing in drugs. Girls drop out of school and become pregnant at 14.

Whatever the sentence you decide to impose on Dr. Boyd. I'm offering to take his place in
prison.

Vft ing to hear from you.

 Sam Zook
28 Battens Circle               .
t_eola. PA 175W
717.572.7286
samuelxook@fidouftom




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Case 3:22-cr-00327     Document 622   Filed 06/21/24   Page 47 of 49 PageID #: 4534
June 9, 2024

The Honorable Aleta Trauger
Fred D. Thompson U.S Courthouse and Federal Building
719 Church Street
Nashville, TN 37203

RE: Freedom of Access to Clinic Entrances Act (FACE Act)

Your Honor:
I am praying for you. The inner workings of this case, I can only imagine the difficulty of judging
with righteous judgment while enforcing the laws of this Great country. My fellow brothers and
sisters see the value of one single life of a child and the mental anguish of the parents who
decide to abort their child. They have decided to dedicate not only their time but their lives to
protect the most precious among us, the most vulnerable among us, those who can't speak for
themselves. Imagine if someone was trying to kill me or you before you had a voice. Your
Honor, you now stand in the gap of adding to the devastation that already has had a
tremendous effect on our country and of those that were trying to save a life or reducing that
destruction and showing great compassion and mercy. I plead that you would not participate
further in the loss and destruction of life but the giving of grace. We as believers are
accountable before God and I guarantee that my fellow brothers and sisters will see their error
and not repeat a misunderstanding of a law they were not as familiar with as they are now.
Please Your Honor exercise the power of Grace and Mercy as you sentence these individuals.




                                      Sincerely, Wade Allen Hoover Jr




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